                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )       Criminal No. 1:12-00001
                                                   )       Judge Trauger
[1] JIKINTE LASHANE MORRIS                         )

                                          ORDER

        It is hereby ORDERED that this case is set for a change of plea hearing on Tuesday,

September 18, 2012, at 1:30 p.m.

        It is so ORDERED.

        ENTER this 14th day of September 2012.




                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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